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8                                UNITED STATES DISTRICT COURT
9                               CENTRAL DISTRICT OF CALIFORNIA
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11
      UNITED STATES OF AMERICA                     Case No.: 2:00-cv-02155-WDK-AS
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                   Plaintiff,                      ORDER GRANTING PLAINTIFF’S
14
             vs.                                   APPLICATION PERMITTING
15
                                                   SERVICE OF PROCESS
16
      JULIO VALENZUELA
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                    Defendant.
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21         IT IS HEREBY ORDERED, that Plaintiff’s Application for Order
22   Permitting Service of Process is Granted, and that any agent of DIRECT LEGAL
23   SUPPORT, who is at least 18 years of age, of suitable discretion, and not a party
24   for this action, be authorized and appointed the serve the Writ Issued in this action.
25         IT IS ORDERED,
26   DATED: February 14, 2018               _________________________________
27                                          HON. WILLIAM D. KELLER
28                                          Senior United States District Judge


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